Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 1 of 20




                 ([KLELW'
                     ([FHUSWHG
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 2 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1              UNITED STATES DISTRICT COURT
2             SOUTHERN DISTRICT OF NEW YORK
3
4      _______________________________
5      H. CRISTINA CHEN-OSTER; SHANNA
       ORLICH; ALLISON GAMBA; and MARY
6      DE LUIS,
7                                 Plaintiffs,               Case No. 10-cv-6950-
8                      v.                                            AT-RWL
9      GOLDMAN, SACHS & CO. and THE
       GOLDMAN SACHS GROUP, INC.,
10
                                  Defendants.
11     _______________________________
12
13                          CONFIDENTIAL
14                   ATTORNEYS' EYES ONLY
15
16              REMOTE VIDEOCONFERENCED AND
17                 VIDEOTAPED DEPOSITION OF
18                   ANILU VAZQUEZ-UBARRI
19                DATE TAKEN: AUGUST 13, 2020
20
21
22
23     REPORTED BY: PAUL J. FREDERICKSON, CSR
24     JOB NO. 4206133
25     PAGES 1-344

                                                                      Page 1

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 3 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1              UNITED STATES DISTRICT COURT
2             SOUTHERN DISTRICT OF NEW YORK
3
4      _______________________________
5      H. CRISTINA CHEN-OSTER; SHANNA
       ORLICH; ALLISON GAMBA; and MARY
6      DE LUIS,
7                                Plaintiffs,               Case No. 10-cv-6950-
8                      v.                                           AT-RWL
9      GOLDMAN, SACHS & CO. and THE
       GOLDMAN SACHS GROUP, INC.,
10
                                 Defendants.
11     _______________________________
12
13
14                Remote Videoconferenced and
15     Videotaped Deposition of ANILU
16     VAZQUEZ-UBARRI, the witness herein, at
17     7:53 a.m. Pacific Time, pursuant to
18     notice, reported by certified court
19     reporter Paul J. Frederickson, CSR.                   All
20     parties appeared remotely and the witness
21     was sworn remotely.
22
23
24
25

                                                                     Page 2

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 4 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1                    A P P E A R A N C E S
2
3      FOR THE PLAINTIFFS:
4         LIEFF CABRASER HEIMANN & BERNSTEIN
5         275 Battery Street
6         29th Floor
7         San Francisco, CA 94111-3339
8         415.956.1000
9         BY: ANNE B. SHAVER, ESQ.
10        ashaver@lchb.com
11        BY: KELLY M. DERMODY, ESQ.
12        kdermody@lchb.com
13        BY: MICHELLE A. LAMY, ESQ.
14        mlamy@lchb.com
15
16     FOR THE DEFENDANTS:
17        SULLIVAN & CROMWELL LLP
18        1700 New York Avenue, NW
19        Suite 700
20        Washington, DC 20006-5215
21        202-956-7500
22        BY: AMANDA FLUG DAVIDOFF, ESQ.
23        davidoffa@sullcrom.com
24
25

                                                                  Page 3

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 5 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1      FOR THE DEFENDANTS:
2         SULLIVAN & CROMWELL LLP
3         125 Broad Street
4         New York, NY 10004-2498
5         212.558-7357
6         BY: ANN-ELIZABETH OSTRAGER, ESQ.
7         ostragerae@sullcrom.com
8         212.558.4000
9         BY: LEILA R. SIDDIKY, ESQ.
10        siddikyl@sullcrom.com
11
12     ALSO PRESENT:
13        ADAM HEFT, ESQ.
14        Goldman Sachs
15
16     ALSO PRESENT:
17        ROBERT VELASCO
18        Videographer
19        ISRAEL REYES
20        Videographer
21
22
23
24
25

                                                                  Page 4

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 6 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1              form.                                               09:04:44
2              A.      So what I -- what I recall is               09:04:54
3      that in preparation for any discussions my                  09:04:58
4      team and I would try to set frameworks of                   09:05:04
5      discussions that would help us move forward                 09:05:09
6      with our strategy.        And as part of that we            09:05:12
7      would identify potential explanations for a                 09:05:16
8      number of things, including why certain data                09:05:20
9      may look a certain way.          We also debated a          09:05:25
10     lot whether the data itself was the best way                09:05:33
11     to look at a particular topic.               We might be    09:05:34
12     missing -- there might be additional context                09:05:37
13     that was not readily identifiable in the                    09:05:38
14     particular number that we were looking at.                  09:05:42
15                     And, again, for this, for the               09:05:44
16     slight differences that we noticed, we would                09:05:47
17     have -- we would have normally identified                   09:05:51
18     different reasons why we thought it could be                09:05:55
19     and what we needed to do to find out more.                  09:05:58
20                     So there was a lot of                       09:06:03
21     brainstorming that happened in our team.                    09:06:04
22             Q.      Okay.                                       09:06:06
23                     And with respect to female                  09:06:08
24     underrepresentation in top quartiles and                    09:06:12
25     overrepresentation in bottom quartiles, what                09:06:15

                                                                  Page 62

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 7 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1      reasons did you identify for why that could                  09:06:20
2      be?                                                          09:06:24
3                       MS. FLUG DAVIDOFF:          Objection,      09:06:26
4              misstates testimony.                                 09:06:28
5              A.       So just again this -- any given             09:06:33
6      piece of data would be a snapshot of a                       09:06:40
7      particular point in time.            And as I                09:06:43
8      mentioned, this was a slight difference in                   09:06:46
9      representation for the population.                  The      09:06:52
10     things that could impact that would be a                     09:06:56
11     number a things.       As you said, that's a                 09:07:00
12     global firm-wide stat.          So you would need to         09:07:04
13     look at the specifics of each group and each                 09:07:09
14     region.      And, I mean, there could be a                   09:07:14
15     number of factors, and also including -- so,                 09:07:15
16     like, what was the population?               What roles      09:07:19
17     they were in?       How valuable those roles                 09:07:21
18     would be.       So all kinds of things that could            09:07:24
19     impact the -- you know, the particular                       09:07:28
20     person and where they landed.                                09:07:32
21                      So we would look at all of that.            09:07:35
22             Q.       So the value of the role could              09:07:38
23     impact their performance evaluation score?                   09:07:41
24                      MS. FLUG DAVIDOFF:          Objection to    09:07:44
25             form.                                                09:07:44

                                                                   Page 63

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 8 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1      was a little different.                                     09:10:09
2                      My question was whether you                 09:10:10
3      could point to any specific initiative that                 09:10:12
4      you undertook as a result of the analysis                   09:10:16
5      that you performed on gender differences in                 09:10:22
6      quartile distribution.                                      09:10:27
7              A.      So --                                       09:10:30
8                      MS. FLUG DAVIDOFF:           Objection.     09:10:30
9              A.      -- again, yeah, I don't -- I                09:10:32
10     don't recall -- it's a little bit hard to                   09:10:34
11     say that it's tied to one way or another.                   09:10:36
12     We had an overall strategy to impact the                    09:10:39
13     performance and the retention, as I said of                 09:10:44
14     everyone, but a specific focus on diversity.                09:10:48
15     So there were a number, you know, of                        09:10:50
16     initiatives specifically focused on that                    09:10:54
17     that I would hope had an impact on the                      09:10:57
18     retention and the development.               If you want    09:11:01
19     me to name some of those initiatives, they                  09:11:03
20     were at all levels.        So I'm happy to give             09:11:05
21     you examples.                                               09:11:08
22             Q.      No, thank you.        I'm sure we'll        09:11:10
23     have time to get into that.             But my question     09:11:12
24     is more targeted.                                           09:11:15
25                     My question is whether, as a                09:11:16

                                                                  Page 66

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 9 of 20
                        CONFIDENTIAL ATTORNEYS' EYES ONLY

1      result of the analysis that you did on                       09:11:19
2      performance results by gender, you undertook                 09:11:25
3      any specific initiative that were aimed                      09:11:28
4      at -- at that issue, the issue of quartile                   09:11:35
5      distribution by gender.                                      09:11:38
6                      MS. FLUG DAVIDOFF:           Objection to    09:11:41
7              form and objection, asked and                        09:11:41
8              answered.                                            09:11:43
9                      THE WITNESS:       Sorry, I couldn't         09:11:55
10             hear it, your objection.                             09:11:56
11                     MS. FLUG DAVIDOFF:           I'm sorry.      09:11:59
12             I said "objection to form, objection,                09:11:59
13             asked and answered."                                 09:12:02
14             A.      So, again, as I said before,                 09:12:08
15     that's -- that data is a data point in time.                 09:12:11
16     That was not a conclusion.            That was a data        09:12:14
17     point, as there were many other points.               We     09:12:21
18     had initiatives to continue to foster the                    09:12:23
19     development and retention of our diverse                     09:12:27
20     employees at the firm.                                       09:12:31
21             Q.      Okay.                                        09:12:32
22                     So, in other words, is it fair               09:12:44
23     to say that you didn't have a specific                       09:12:45
24     initiative responsive directly to this                       09:12:48
25     analysis?                                                    09:12:52

                                                                   Page 67

                                Veritext Legal Solutions
                                     866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 10 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1                      MS. FLUG DAVIDOFF:            Objection to    09:12:56
2              form, foundation, and misstates                       09:12:56
3              testimony.                                            09:12:58
4                      MS. SHAVER:       And I apologize,            09:13:00
5              Amanda.     I didn't mean to talk over                09:13:01
6              you.                                                  09:13:03
7       BY MS. SHAVER:                                               09:13:03
8              Q.      In other words, you -- did you                09:13:07
9       look at this analysis and say, okay, we --                   09:13:09
10      because of this we need to do X                              09:13:14
11      specifically?                                                09:13:18
12                     MS. FLUG DAVIDOFF:            Objection to    09:13:22
13             form.                                                 09:13:22
14             A.      What I recall -- what I recall                09:13:23
15      is that we would have looked at this data                    09:13:24
16      point and other data points and do further                   09:13:29
17      research on how to retain.            This -- again,         09:13:33
18      this is just one slide into what goes into                   09:13:39
19      retaining and developing diverse                             09:13:43
20      professionals.      So it would be inclusive to              09:13:47
21      act on just one data point.                                  09:13:51
22                     MS. FLUG DAVIDOFF:            Anne,           09:14:00
23             whenever there is a good break, and it                09:14:02
24             doesn't have to be now, I think we --                 09:14:04
25             we're ready for a break whenever you                  09:14:06

                                                                    Page 68

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 11 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1                      MS. FLUG DAVIDOFF:            Objection to    11:13:54
2              form.                                                 11:13:55
3              A.      Do I agree that it's important                11:14:00
4       to what?     That CEO involvement is important               11:14:02
5       to what specifically?                                        11:14:06
6              Q.      To progress on diversity and                  11:14:07
7       inclusion.                                                   11:14:09
8              A.      It's important, yes.                          11:14:12
9              Q.      And were you satisfied with the               11:14:13
10      efforts that Goldman Sachs' chairman, Lloyd                  11:14:25
11      Blankfein --                                                 11:14:25
12             A.      Sorry, did you complete your                  11:14:38
13      question?                                                    11:14:39
14             Q.      I'm sorry, it looks like it                   11:14:40
15      cut -- I got cut off there.                                  11:14:41
16             A.      Yeah.                                         11:14:43
17                     MS. SHAVER:       Sorry, my realtime          11:14:48
18             is off.     Give me one second.                       11:14:49
19                     THE WITNESS:        Okay.                     11:14:52
20                     THE COURT REPORTER:             You can try   11:14:56
21             refreshing.                                           11:14:58
22                     [Pause.]                                      11:15:01
23                     MS. FLUG DAVIDOFF:            Mine went       11:15:05
24             off a little while back and I just                    11:15:06
25             went back to the original link and got                11:15:09

                                                                 Page 127

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 12 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1              it again.                                              11:15:11
2                      MS. SHAVER:       Okay.       I think it       11:15:12
3              looks like I'm up.          Okay.                      11:15:13
4       BY MS. SHAVER:                                                11:15:13
5              Q.      And how did Goldman Sachs'                     11:15:15
6       chairman, Lloyd Blankfein, take an active                     11:15:19
7       role on diversity?                                            11:15:22
8              A.      There are things he spoke.            He       11:15:28
9       was vocal about it internally and                             11:15:29
10      externally.     He supported our efforts.            The      11:15:32
11      firm funded our efforts.           Again, he was an           11:15:37
12      active participant.                                           11:15:47
13             Q.      And were you satisfied with the                11:15:50
14      efforts he made?                                              11:15:52
15             A.      Yes.                                           11:15:52
16             Q.      Did he ever host a Chairman's                  11:15:54
17      Forum on Diversity at Goldman Sachs?                          11:15:58
18             A.      Again, I don't recall if that                  11:15:59
19      happened.     He hosted other forums on                       11:16:02
20      diversity.                                                    11:16:06
21             Q.      Did he ever host a round table                 11:16:06
22      with high-performing diverse VPs and MDs?                     11:16:17
23             A.      I'm pretty sure he did.                        11:16:23
24             Q.      Okay.                                          11:16:26
25                     Did he ever host a recognition                 11:16:28

                                                                   Page 128

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 13 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1       dinner for managers and sponsors of                          11:16:29
2       diversity he promotes?                                       11:16:34
3                A.       I know he hosted dinners for               11:16:35
4       managers.        I don't recall the specifics of             11:16:38
5       the rest of your question.                                   11:16:40
6                Q.       Okay.                                      11:16:42
7                         Do you recall how many times he            11:16:44
8       hosted a round table with high-performing                    11:16:46
9       diversity VPs and MDs?           Was that a regular          11:16:52
10      thing?                                                       11:16:56
11               A.       It definitely happened more than           11:16:56
12      once.     I don't recall the specific number.                11:16:58
13               Q.       Do you know if it was a regular            11:17:00
14      basis?        Yearly or semiannually or so forth?            11:17:02
15               A.       I don't recall.                            11:17:04
16               Q.       Okay.                                      11:17:05
17                        What about recognition dinners             11:17:06
18      for managers and sponsors of diverse                         11:17:09
19      employees?                                                   11:17:13
20               A.       I recall him hosting events like           11:17:14
21      that.                                                        11:17:18
22               Q.       When?                                      11:17:19
23               A.       I don't recall the dates.                  11:17:19
24                        MS. FLUG DAVIDOFF:          Objection to   11:17:21
25               form.                                               11:17:21

                                                                 Page 129

                                  Veritext Legal Solutions
                                       866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 14 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1                      MS. FLUG DAVIDOFF:            Objection to    13:09:35
2              form.                                                 13:09:35
3              A.      What I recall is that I was not               13:09:38
4       personally responsible for that, but I know                  13:09:41
5       that there was reporting on a number of                      13:09:44
6       human capital topics that would go to the                    13:09:48
7       Management Committee.                                        13:09:50
8              Q.      Was your team responsible for                 13:09:51
9       providing any data reports on a scheduled                    13:09:55
10      basis to the Management Committee?                           13:09:57
11             A.      I don't recall my team being                  13:10:02
12      responsible for that task.                                   13:10:04
13             Q.      Okay.                                         13:10:05
14                     And when you said that there was              13:10:10
15      a reporting an a number of human capital                     13:10:12
16      topics that would go to the Management                       13:10:16
17      Committee, can you tell me specifically what                 13:10:18
18      you are referring to?                                        13:10:20
19             A.      I recall that our reporting                   13:10:21
20      function provided course of business                         13:10:24
21      reporting to the Management Committee.                       13:10:27
22             Q.      Okay.                                         13:10:30
23                     Are you aware of whether or not               13:10:33
24      the Management Committee received regular                    13:10:35
25      reporting on diversity representation in the                 13:10:38

                                                                Page 188

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 15 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1                      The third item says:                          15:24:19
2                      "Provide quarterly updates to                 15:24:21
3       Management Committee on diversity"                           15:24:23
4                      Is it fair to say that that is                15:24:26
5       not a solution that was implemented?                         15:24:28
6              A.      So I don't recall if it was --                15:24:30
7       if that specifically was implemented or if                   15:24:38
8       it became part of other data provided to                     15:24:43
9       Management Committee.                                        15:24:47
10             Q.      What other data provided to the               15:24:49
11      Management Committee?                                        15:24:51
12             A.      What I said earlier is that my                15:24:54
13      recollection is that HCM provided data to                    15:24:56
14      Management Committee from time to time.                      15:25:01
15             Q.      Okay.                                         15:25:03
16                     Which teams within HCM are you                15:25:04
17      referring to?                                                15:25:07
18             A.      My recollection is that it would              15:25:10
19      have been the solutions team or the people                   15:25:13
20      analytics team.        It might have been other              15:25:20
21      data teams or other teams I might have owned                 15:25:24
22      a particular data.        I don't know the full              15:25:31
23      scope of what could have been provided.                      15:25:33
24             Q.      Sure.                                         15:25:35
25                     What -- what's your basis for                 15:25:37

                                                                Page 255

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 16 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1       knowing that those teams did from time to                    15:25:39
2       time provide data to the Management                          15:25:40
3       Committee?                                                   15:25:44
4                      MS. FLUG DAVIDOFF:            Objection,      15:25:45
5               misstates the testimony.                             15:25:45
6               A.     I recall that those teams                     15:25:51
7       provided data.      That was their job, to                   15:25:55
8       provide data.      And I believe that there                  15:25:58
9       were, you know, business -- in normal course                 15:26:04
10      of business data that they would have                        15:26:08
11      provided.     I just don't know the specific                 15:26:11
12      data.                                                        15:26:13
13              Q.     And do you know who would know                15:26:19
14      what data reporting was provided to                          15:26:20
15      Management Committee from HCM?                               15:26:23
16              A.     I may know -- I would assume                  15:26:31
17      that Edith, having sat in the Management                     15:26:33
18      Committee, would have known.                                 15:26:37
19              Q.     Edith Cooper?                                 15:26:39
20              A.     Correct.                                      15:26:40
21              Q.     Okay.                                         15:26:40
22                     With respect to the divisional                15:26:50
23      Operations Committees or Executive                           15:26:57
24      Committees, even if you did not provide --                   15:26:59
25      your team did not provide data to them on a                  15:27:03

                                                                  Page 256

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 17 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1              Time.]                                                16:12:03
2                       [Resuming at 4:19 p.m. Pacific               16:12:04
3              Time.]                                                16:12:11
4                       THE VIDEOGRAPHER:          We are back       16:12:11
5              on the record.        The time is 4:19 p.m.           16:19:04
6                   EXAMINATION CONTINUING                           16:19:04
7       BY MS. SHAVER:                                               16:19:04
8              Q.       Okay.   Was there any                        16:19:09
9       recommendations that you made regarding                      16:19:12
10      talent management processes at Goldman Sachs                 16:19:15
11      that Lloyd Blankfein did not support?                        16:19:17
12             A.       I don't recall that.                         16:19:34
13             Q.       You -- sorry.        You can't think         16:19:42
14      of a recommendation that you made to improve                 16:19:43
15      talent processes at Goldman Sachs, top                       16:19:47
16      management processes at Goldman Sachs that                   16:19:49
17      Lloyd Blankfein did not support?                             16:19:51
18             A.       I don't recall that.                         16:19:53
19             Q.       You don't recall that happening?             16:19:54
20             A.       I don't recall that happening.               16:19:56
21             Q.       Okay.                                        16:19:57
22                      Thank you.                                   16:19:59
23                      Putting 15 into your folders.                16:20:08
24                      [Deposition Exhibit 15 marked                16:20:15
25             for identification.]                                  16:20:16

                                                                 Page 288

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 18 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1       that's his words.       But if they were, I --               16:24:20
2       I'm not offended by the statement.                  I        16:24:23
3       believe that the networks are for community.                 16:24:28
4              Q.      Okay.                                         16:24:28
5                      Do you believe that --                        16:24:32
6              A.      And for celebrating.                          16:24:34
7              Q.      Did you ever have a concern that              16:24:34
8       Lloyd Blankfein didn't take seriously the                    16:24:38
9       network's requests regarding better                          16:24:41
10      representation of their membership in                        16:24:44
11      leadership?                                                  16:24:46
12                     MS. FLUG DAVIDOFF:            Objection,      16:24:48
13             foundation, form.                                     16:24:51
14             A.      I -- I don't remember having                  16:24:55
15      that concern.                                                16:24:58
16             Q.      Did you ever get the sense that               16:25:00
17      Lloyd Blankfein thought that affinity                        16:25:03
18      networks were just for celebrating the                       16:25:05
19      culture and nothing more?                                    16:25:08
20                     MS. FLUG DAVIDOFF:            Objection to    16:25:12
21             form, argumentative.                                  16:25:12
22             A.      In fact I did not think that                  16:25:16
23      because this was a meeting with the networks                 16:25:18
24      leadership.     So evidently he felt that it                 16:25:22
25      was important for him to meet with them in                   16:25:27

                                                                  Page 291

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 19 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1       that role.                                                   16:25:29
2               Q.     On the first page it says:                    16:25:49
3                      "Networks highlighted areas that              16:25:52
4       need additional attention from the firm...."                 16:25:54
5                      And then it lists those areas.                16:25:56
6                      Do you see that?                              16:26:02
7               A.     I am trying to go back to that                16:26:06
8       page.                                                        16:26:07
9                      In the -- "networks" -- yeah.                 16:26:09
10                     Okay.    Yeah.                                16:26:09
11              Q.     And, again, this -- these were                16:26:20
12      things that the networks highlighted to                      16:26:25
13      Lloyd Blankfein; correct?                                    16:26:28
14              A.     Correct.                                      16:26:29
15              Q.     Moving on.                                    16:26:36
16                     When -- did David Solomon take                16:26:41
17      over as chairman while you were still at                     16:26:45
18      Goldman Sachs?                                               16:26:50
19              A.     No, I believe it happened after               16:26:53
20      I left.                                                      16:26:54
21              Q.     Okay.                                         16:26:55
22                     So as chief diversity officer &               16:26:56
23      head of talent, did you have any meetings                    16:27:00
24      with David Solomon regarding gender                          16:27:04
25      diversity at the firm?                                       16:27:09

                                                                Page 292

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 1:10-cv-06950-AT-RWL Document 1108-8 Filed 11/13/20 Page 20 of 20
                         CONFIDENTIAL ATTORNEYS' EYES ONLY

1                          ***********************
2                           C E R T I F I C A T E
3                          ***********************
4                I, PAUL J. FREDERICKSON,
5       California Certified Shorthand
6       Reporter No. 13164, do hereby certify:
7                That prior to being examined,
8       the witness named in the foregoing
9       deposition was by me remotely sworn or
10      affirmed to testify to the truth, the
11      whole truth and nothing but the truth;
12               That said deposition was taken
13      down by me remotely in shorthand at,
14      and thereafter reduced to print by
15      means of computer-aided transcription;
16      and the same is a true, correct and
17      complete transcript of said proceedings.
18               I further certify that I am not
19      interested in the outcome of the action.
20               Witness my hand this 30th day of
21      August 2020.
22
        <%16469,Signature%>
23      PAUL J. FREDERICKSON, CSR
24      CA CSR 13164
25      Expiration date January 31, 2021

                                                                Page 344

                                 Veritext Legal Solutions
                                      866 299-5127
